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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 ALTPASS LLC,

                       Plaintiff,

                v.                                       Civil Action No. 2:20-cv-0105

 ONEPLUS TECHNOLOGY                                      JURY TRIAL DEMANDED
 (SHENZHEN) CO., LTD.


                       Defendant.


             STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(2) and (c), The Plaintiff Altpass, LLC (“Plaintiff”) and

the Defendant OnePlus Technology (Shenzhen) Co., Ltd., (“Defendant”), hereby move for an

order dismissing all claims in this action WITH prejudice subject to the terms of the agreement

between the parties and dated December 25, 2020, with each party to bear its own costs, expenses,

and attorneys’ fees.


       DATED January 20, 2021.                             Respectfully submitted,

                                                           By: /s/ Neal Massand
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                                                              ATTORNEY TO BE NOTICED




                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of January, 2021, I electronically filed the foregoing
document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
Division, using the electronic case filing system of the court. A true and complete copy of the
foregoing document has been served upon all counsel of record.
                                                              /s/ Neal Massand
                                                              Neal Massand
